        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 1 of 15




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

NORTHSTAR HEALTHCARE                     )
CONSULTING, LLC,                         )
                                         )
      Plaintiff,
                                         )
v.                                       ) CIVIL ACTION NO.
                                         ) ____________
MAGELLAN BEHAVIORAL                      )
HEALTH SYSTEMS, LLC, et al.,             )
      Defendants.                        )


                           NOTICE OF REMOVAL
      Defendants Magellan Behavioral Health Systems, LLC, Magellan

Healthcare, Inc., Magellan Behavioral Services, Inc., Magellan Health, Inc.,

Magellan Healthcare of Georgia, Inc., Magellan Medicaid Administration, Inc.,

and Magellan Rx Management, LLC ( “Defendants”), pursuant to 28 U.S.C. §§

1332, 1441, and 1446, hereby give notice that the case captioned NorthStar

Healthcare Consulting, LLC v. Magellan Behavioral Health Systems, LLC, et al.,

is hereby removed from the Superior Court of Gwinnett County, Georgia where it

is pending as Case No. 17A-CV-01468-6, to the United States District Court for

the Northern District of Georgia, Atlanta Division. As grounds for removal,

Defendants state as follows:
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 2 of 15




             I.       PROCEDURAL AND FACTUAL BACKGROUND

      1.          On or about February 17, 2017, NorthStar Healthcare Consulting,

LLC (“Plaintiff” or “NorthStar”) filed this action in the Superior Court of Gwinnett

County, Georgia against Defendants arising out of a April 10, 2013 Service

Agreement entered into between NorthStar and Magellan Health, Inc. f/k/a

Magellan Health Services, Inc.

      2.          A true and correct copy of each pleading filed in the Superior Court of

Gwinnett County, Georgia as of the date of this notice, is attached hereto as

Exhibit 1.

      3.          Defendants were served with the Complaint on or about February 22,

2017. This Notice of Removal is being filed within 30 days of service of the initial

pleading setting forth the claim for relief, and is therefore timely pursuant to 28

U.S.C. § 1446(b).

      4.          The United States District Court for the Northern District of Georgia,

Atlanta Division, is the federal judicial district embracing the Superior Court of

Gwinnett County, Georgia, where this suit was originally filed. Venue is therefore

proper under 28 U.S.C. §§ 81(c)(2) and 1441(a).

                           II.    GROUNDS FOR REMOVAL

      5.          Pursuant to 28 U.S.C. § 1332, Plaintiff’s Complaint could have been

filed in this Court, in that there is complete diversity of citizenship between



                                              2
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 3 of 15




Plaintiff and the only properly-joined Defendants herein, and the amount in

controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

                     III.   DIVERSITY OF CITIZENSHIP

      A.     COMPLETE DIVERSITY OF CITIZENSHIP EXISTS BETWEEN
             PLAINTIFFS AND THE ONLY PROPERLY JOINED DEFENDANTS.

      6.     Plaintiff NorthStar is a limited liability company organized under the

laws of the State of Georgia with its principal place of business in Alpharetta,

Georgia. Complaint (“Compl.”), ¶ 1. As a limited liability company, NorthStar’s

citizenship is determined by the citizenship of its members. See Mallory & Evans

Contractors & Engineers, LLC v. Tuskegee Univ., 663 F.3d 1304, 1305 (11th Cir.

2011). NorthStar’s sole member is Emily Ann Baker, a citizen of Georgia.

      7.     Magellan Behavioral Health Systems, LLC is a limited liability

company organized under the laws of the State of Utah with its principal place of

business in the State of Maryland. Compl. ¶ 2. Magellan Behavioral Health

Systems, Inc.’s sole member is Magellan Healthcare, Inc., a corporation organized

under the law of Delaware with its principal place of business in the State of

Maryland. Magellan Behavioral Health Systems, Inc. is not now, and was not at

the time of the filing of the Complaint, a citizen or resident of the State of Georgia

within the meaning of the Acts of Congress relating to the removal of cases.

      8.     Magellan Healthcare, Inc. is a corporation organized under the laws of

the State of Delaware with its principal place of business in the State of Maryland.

                                          3
          Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 4 of 15




Compl. ¶ 3. Magellan Healthcare, Inc. is not now, and was not at the time of the

filing of the Complaint, a citizen or resident of the State of Georgia within the

meaning of the Acts of Congress relating to the removal of cases.

         9.    Magellan Behavioral Services, Inc. is a corporation organized under

the laws of the State of Delaware with its principal place of business in the State of

Maryland. Compl. ¶ 4. Magellan Behavioral Health Systems, Inc. is not now, and

was not at the time of the filing of the Complaint, a citizen or resident of the State

of Georgia within the meaning of the Acts of Congress relating to the removal of

cases.

         10.   Magellan Health, Inc. is a corporation organized under the laws of the

State of Delaware with its principal place of business in the State of Arizona.

Compl. ¶ 5. Magellan Health, Inc. is not now, and was not at the time of the filing

of the Complaint, a citizen or resident of the State of Georgia within the meaning

of the Acts of Congress relating to the removal of cases.

         11.   Magellan Medicaid Administration, Inc. is a corporation organized

under the laws of the State of Virginia with its principal place of business in the

State of Virginia. Compl. ¶ 7. Magellan Medicaid Administration, Inc. is not now,

and was not at the time of the filing of the Complaint, a citizen or resident of the

State of Georgia within the meaning of the Acts of Congress relating to the

removal of cases.



                                           4
            Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 5 of 15




         12.     Magellan Rx Management, LLC is a limited liability company

organized under the laws of the State of Delaware with its principal place of

business in the State of Arizona. Compl. ¶ 8. Magellan Rx Management, LLC’s

sole member is Magellan Pharmacy Services, Inc., a corporation organized under

the laws of Delaware with its principal place of business in the State of Maryland.

Magellan Rx Management, LLC is not now, and was not at the time of the filing of

the Complaint, a citizen or resident of the State of Georgia within the meaning of

the Acts of Congress relating to the removal of cases.

         13.     Because the Plaintiff and the only properly-named defendants are

residents of different states, complete diversity exists between the parties.

         B.      PLAINTIFFS  HAVE   FRAUDULENTLY                       JOINED        MAGELLAN
                 HEALTHCARE OF GEORGIA, INC.

         14.     Defendant Magellan Healthcare of Georgia, Inc. is a corporation

organized under the laws of the State of Georgia. Compl. ¶ 6. Magellan Healthcare

of Georgia does not currently conduct any business, so it has no principal place of

business. 1 See ¶ 21, infra. Although Magellan Healthcare of Georgia, Inc. facially

appears to be a non-diverse defendant, its citizenship can be disregarded for

purposes of diversity jurisdiction because it was fraudulently joined in this action.

         15.     When a defendant has been fraudulently joined, the Court should

disregard its citizenship for purposes of determining whether a case is removable

1
    Magellan Healthcare of Georgia’s registered principal office address is in Maryland.


                                                  5
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 6 of 15




based on diversity of citizenship. See Triggs v. John Crump Toyota, Inc., 154 F.3d

1284, 1287 (11th Cir. 1998); Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353,

1360 (11th Cir. 1996) (overruled on other grounds). Indeed, it is well-settled that

“the Federal courts should not sanction devices intended to prevent a removal to a

Federal Court where one has that right, and should be equally vigilant to protect

the right to proceed in the Federal court as to permit the state courts, in proper

cases, to retain their own jurisdiction.” Wecker v. Nat’l Enameling & Stamping

Co., 204 U.S. 176, 186 (1907).

      16.    “The determination of whether a resident defendant has been

fraudulently joined must be based upon the plaintiff’s pleadings at the time of

removal, supplemented by any affidavits and deposition transcripts submitted by

the parties.” N. Jackson Pharmacy, Inc. v. McKesson Corp., No. 5:14-CV-02371-

SGC, 2015 WL 5011346, at *2 (N.D. Ala. Aug. 24, 2015) (citing Pacheco de

Perez v. AT & T Co., 139 F.3d 1368, 1380 (11th Cir. 1998)). The “proceeding

appropriate for resolving a claim of fraudulent joinder is similar to that used for

ruling on a motion for summary judgment under Fed. R. Civ. P. 56(b).” Id.

Although the district court must “resolve all questions of fact . . . in favor of the

plaintiff,” “there must be some question of fact before the district court can resolve

that fact in the plaintiff’s favor.” Id. (citing Legg v. Wyeth, 428 F.3d 1317, 1322

(11th Cir. 2005).



                                          6
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 7 of 15




      17.    The Eleventh Circuit recognizes three types of fraudulent joinder: (1)

where there is no possibility that the plaintiff can establish any cause of action

against the resident defendant under either the law or the facts alleged, (2) where

plaintiff has fraudulently pled jurisdictional facts in order to bring the resident

defendant into state court, and (3) where the plaintiff has committed an egregious

misjoinder under Rule 20. Cabalceta v. Standard Fruit Co., 883 F.2d 1553, 1561

(11th Cir. 1989); Tapscott, 77 F.3d at 1360 n.17; Triggs, 154 F.3d at 1287.

      18.    Here, Magellan Healthcare of Georgia, Inc. is fraudulently joined

because there is no possibility that Plaintiff can establish a cause of action against

it. None of the causes of action asserted in the Complaint specifically reference

Magellan Healthcare of Georgia, Inc. Instead, Plaintiff makes general allegations

that all seven “Defendants” breached a contract with Plaintiff and committed

various torts resulting in harm to Plaintiff. The only allegations that even mention

Magellan Healthcare of Georgia, Inc. are found in paragraph 6: “Magellan

Healthcare of Georgia, Inc. and its affiliates solicited services from and contracted

with NorthStar as set forth herein.” Compl, ¶ 6. As discussed below, however,

these vague allegations are not only inaccurate, but completely implausible.

      19.    Magellan Healthcare of Georgia, Inc. (“Magellan of Georgia”) was

formed on May 14, 2014—more than a year after the Service Agreement between

NorthStar and Magellan Health, Inc. was executed—for the sole purpose of



                                          7
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 8 of 15




responding to a March 20, 2014 Request for Proposal (“RFP”) issued by the

Georgia Department of Behavioral Health and Developmental Disabilities

(“DBHDD”). At that time, DBHDD was seeking to contract with a qualified

independent supplier for administration of Georgia’s public integrated behavioral

Health and intellectual and development disability services system. (Declaration of

Glenn Stanton (“G. Stanton Decl.”), ¶ 3, attached hereto as Exhibit 2).

      20.    The April 10, 2013 Service Agreement entered into between

NorthStar and Magellan Health Services, Inc. involves Pharmacy Benefit

Management (“PBM”). Compl. ¶ 12. There was absolutely no Pharmacy Benefits

Management (“PBM”) component of the RFP issued by DBHDD. (G. Stanton

Decl. ¶ 4.) Rather, the RFP was issued for the provision of behavioral health

benefits administration only. (Id.) Magellan of Georgia has never bid for PBM

business, and is neither qualified nor licensed to provide PBM services.

(Declaration of Jeff West (“J. West Decl.”), ¶ 12, attached hereto as Exhibit 3).

      21.    Magellan of Georgia responded to DBHDD’s RFP on May 27, 2014,

but ultimately lost the bid to its competitor, ValueOpions. (G. Stanton Decl. ¶¶ 5-

6.). Since losing the bid, Magellan of Georgia has conducted no business

whatsoever in the State of Georgia or elsewhere. (G. Stanton Decl. ¶ 7.) Magellan

of Georgia has never earned any revenue or incurred any debts, never owned any

assets, never maintained any bank accounts, never entered into any contracts with



                                         8
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 9 of 15




any entities or individuals, never had any employees, never maintained a website,

and never owned any intellectual, real, or personal property. (J. West Decl. ¶¶ 5-

11.) Magellan of Georgia has never entered into any contracts with NorthStar and

has never had any business dealings with NorthStar. Magellan Health, Inc. has

never executed a Statement of Work pursuant to which NorthStar would be

performing services for Magellan of Georgia. (J. West. Decl. at ¶¶ 12-15.)

      22.    Accordingly, there is no reasonable basis from which it may be

inferred that Magellan of Georgia is in any way liable to the Plaintiff for the claims

asserted in this case, and there is no possibility of recovery by Plaintiff against

Magellan of Georgia. Clearly, the only reason for Plaintiff’s joinder of Magellan

Healthcare of Georgia in this action is that it is a citizen of the State of Georgia,

and its inclusion would defeat diversity jurisdiction. Because Magellan of Georgia,

has no real connection to this controversy, its citizenship should not be considered

by the Court in evaluating diversity jurisdiction. See Tapscott v. MS Dealer Service

Corp., 77 F.3d 1353, 1360 (11th Cir. 1996) (quoting Wilson v. Republic Iron &

Steel Co., 257 U.S. 92, 97(1921)) (“A defendant's ‘right of removal cannot be

defeated by a fraudulent joinder of a resident defendant having no real connection

with the controversy.’”), abrogated in part and on other grounds by Cohen v. Office

Depot, Inc., 204 F.3d 1069 (11th Cir. 2000).




                                          9
       Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 10 of 15




      23.      Because Magellan of Georgia was fraudulently joined in this action,

complete diversity exists between the properly-named and joined parties.

         IV.     THE AMOUNT IN CONTROVERSY EXCEEDS THE
                       JURISDICTIONAL THRESHOLD

      24.      It is equally clear that the amount in controversy exceeds the sum of

$75,000.00 pursuant to 28 U.S.C. § 1332.

      25.      In satisfying its burden on removal, “a removing defendant is not

required to prove the amount in controversy beyond all doubt or to banish all

uncertainty about it.” Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 754 (11th

Cir. 2010). To the contrary, “Eleventh Circuit precedent permits district courts to

make ‘reasonable deductions, reasonable inferences, or other reasonable

extrapolations’ from the pleadings to determine whether it is facially apparent that

a case is removable.” Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1061-62 (11th

Cir. 2010) (quoting Pretka, 608 F.3d at 754). “Put simply, a district court need not

suspend reality or shelve common sense in determining whether the face of a

complaint . . . establishes the jurisdictional amount. Instead, courts may use their

judicial experience and common sense in determining whether the case stated in a

complaint meets federal jurisdictional requirements.” Id. at 1062 (internal

quotations omitted). See also Dudley v. Eli Lilly & Co., 778 F.3d 909, 912 (11th

Cir. 2014) (quoting Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct.

547, 551 (2014)) (“[A]ll that is required [by a removing party in its notice of

                                          10
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 11 of 15




removal] is a ‘short and plain statement of the grounds for removal,’ including ‘a

plausible allegation that the amount in controversy exceeds the jurisdictional

threshold.’”).

       26.    Plaintiff alleges that it contracted to provide pharmacy audit and

related services to the Defendants. Compl. at ¶ 12. According to Plaintiff, in order

to perform its services under the Contract, it “utilized and further developed

confidential and proprietary algorithms that are designed to find pharmacy claims

that are fraudulently, erroneously, or suspiciously filed. . . .” Id. at ¶ 17.

       27.    The value of the services provided by Plaintiff is significant. For

example, Magellan Health, Inc. paid Plaintiff over $90,000 in 2013, over $360,000

in 2014, over $590,000 in 2015, over $560,000 in 2016, and over $60,000 in 2017

for its services. (Declaration of Karen Aubuchon (“K. Aubuchon Decl.”), ¶ 4,

attached hereto as Exhibit 4).

       28.    Plaintiff contends that the Magellan Defendants have misappropriated

for their own use and benefit the proprietary information essential to the

performance of Plaintiff’s services.

       29.    As a result of Defendant’s alleged misappropriation, Plaintiff seeks

breach of contract damages, damages for unjust enrichment, damages pursuant to

the Illinois Trade Secrets Act, damages pursuant to the Illinois Uniform Deceptive

Trade Practices Act, and costs and attorney’s fees. Compl. at p. 13



                                            11
       Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 12 of 15




      30.    The Complaint contends that Defendants have been unjustly enriched

by their use of the allegedly proprietary information and owe Plaintiff

compensation for their use of this information. As explained above, the value of

this information and Plaintiff’s services is substantial given that Magellan Health,

Inc. has paid Plaintiff over $1.6 million over the past four years for Plaintiff’s

application of the alleged proprietary information.

      31.    Thus, the amount of Defendants’ alleged unjust enrichment from the

use of Plaintiff’s allegedly proprietary information easily exceeds the jurisdictional

threshold.

      32.    In addition to these compensatory damages, Plaintiff also seeks

exemplary damages on its Illinois Trade Secrets Act claim. Under the Illinois

Trade Secrets Act, Plaintiff can recover twice the amount of its compensatory

damages. Learning Curve Toys, Inc. v. PlayWood Toys, Inc., 342 F.3d 714, 730

(7th Cir. 2003).

      33.    Further, Plaintiff seeks punitive damages. Plaintiff’s demand for

punitive damages is, of course, included in the determination of the amount in

controversy. See Holley Equip. Co. v. Credit All. Corp., 821 F.2d 1531, 1535 (11th

Cir. 1987) (“When determining the jurisdictional amount in controversy in

diversity cases, punitive damages must be considered, unless it is apparent to a

legal certainty that such cannot be recovered.”) (internal citations omitted); Bell v.



                                         12
        Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 13 of 15




Preferred Life Assurance Soc. of Montgomery, Ala., 320 U.S. 238, 240 (1943)

(claims for compensatory and punitive damages should be aggregated to determine

amount in controversy).

      34.    With respect to the additional injunctive relief that Plaintiff seeks, the

monetary value of this remedy would also be in excess of $75,000. See Leonard v.

Enterprise Rent A Car, 279 F.3d 967, 973 (11th Cir. 2002) (“The value of

injunctive or declaratory relief for amount in controversy purposes is the monetary

value of the object of the litigation that would flow to the plaintiffs if the injunction

were granted.”). As demonstrated above, the value of Plaintiff’s services that rely

on the allegedly proprietary information is well in excess of the jurisdictional

minimum. The value of an injunction that prevents Defendants from using this

information would correspondingly exceed that threshold.

      35.    Thus, the jurisdictional amount in controversy requirement of 28

U.S.C. § 1332 is satisfied. It is clear from the face of the Complaint itself, the facts

asserted, the broad scope of damages alleged, and the evidence submitted herewith,

that the amount in controversy is well in excess of $75,000.

                                   CONCLUSION

      Because Magellan of Georgia was fraudulently joined, there exists complete

diversity of citizenship between the Plaintiff and the only properly-named




                                           13
       Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 14 of 15




Defendants. In addition, the amount in controversy exceeds the jurisdictional

minimums required by the provisions of § 1332 that allow removal of this action.

      WHEREFORE, Defendants respectfully removes this action from the

Superior Court of Gwinnett County, Georgia, Civil Action No. 17-A-01468-6, to

this Court pursuant to 28 U.S.C. §§ 1332, 1441, and 1446. Written notice of the

filing of this Notice of Removal will be given to the adverse parties as required by

law. A Notice of Filing Notice of Removal, with a copy of this Notice of Removal

attached, will promptly be filed with Clerk for the Superior Court of Gwinnett

County, Georgia.



                                             Respectfully submitted by,

                                             s/ Starr Turner Drum
                                             Starr Turner Drum
                                             Georgia Bar No. 733029
                                             One of the Attorneys for Magellan



OF COUNSEL:
MAYNARD, COOPER & GALE, PC
1901 6th Avenue North
Suite 2400
Birmingham, AL 35203
sdrum@maynardcooper.com




                                        14
       Case 1:17-cv-01071-ODE Document 1 Filed 03/24/17 Page 15 of 15




                       CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon the
following via U.S. Mail, postage pre-paid, on this the 24th day of March, 2017:

David I. Matthews
George B. Green, Jr.
WEINBERG, WHEELER,
HUDGINS, GUNN & DIAL, LLC
3344 Peachtree Road
Suite 2400
Atlanta, GA 30326




                                           s/Starr Turner Drum
                                           OF COUNSEL




                                      15
